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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
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Plaintiff or Attorney for Plaintiff

                                      UNITED STATES BANKRUPTCY COURT CENTRAL
                                        DISTRICT OF CALIFORNIA − LOS ANGELES
In re:

                                                                              CASE NO.:    2:23-bk-10990-SK

LESLIE KLEIN                                                                  CHAPTER:     7


                                                                              ADVERSARY NUMBER:         2:23-ap-01169-SK
                                                               Debtor(s).

DAVID BERGER

                                                                                           ANOTHER
                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
LESLIE KLEIN                                                                         PROCEEDING [LBR 7004−1]

                                                           Defendant(s)




TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
______________. If you do not timely file and serve the response, the court may enter a judgment by default against you for
the relief demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:
             Time:
             Hearing Judge:
             Location:



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status conference.
All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the other parties
in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before a status
conference. A court−approved joint status report form is available on the court's website (LBR form F 7016 1.STATUS.REPORT)
with an attachment for additional parties if necessary (LBR form F 7016−1.STATUS.REPORT.ATTACH). If the other parties do
not cooperate in filing a joint status report, you still must file with the court a unilateral status report and the accompanying
required declaration instead of a joint status report 7 days before the status conference. The court may fine you or impose
other sanctions if you do not file a status report. The court may also fine you or impose other sanctions if you fail to
appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Alias Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                        By:
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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